        Case 1:19-cr-10080-NMG Document 1921 Filed 06/25/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA

        v.                                                 No. 19-cr-10080-NMG

 GREGORY COLBURN, et al.,
     Defendants.


                  GOVERNMENT’S ASSENTED-TO MOTION TO SEAL
                        GOVERNMENT’S EXHIBIT LIST

       Pursuant to Local Rule 7.2 of the U.S. District Court for the District of Massachusetts, the

United States respectfully moves for leave to file the Government’s Exhibit List under seal.

Defense counsel assents to this motion.

       In support of this motion, the government states that the exhibit list contains brief narrative

descriptions of the exhibits that include references to the defendants’ children, academic records,

and uncharged co-conspirators. Under the terms of the May 2, 2019 Protective Order, such

materials are to be filed under seal or redacted to remove any references to children, academic

records, or uncharged co-conspirators. Dkt. 377 at 4. Accordingly, the government respectfully

requests leave to file the complete Exhibit List under seal, and to omit the narrative descriptions

from the public docket.

                                                      Respectfully submitted,

                                                      NATHANIEL R. MENDELL
                                                      United States Attorney

                                                  By: /s/ Kristen A. Kearney
                                                     JUSTIN D. O’CONNELL
                                                     KRISTEN A. KEARNEY
                                                     LESLIE A. WRIGHT
                                                     STEPHEN E. FRANK
                                                     IAN J. STEARNS
                                                     Assistant United States Attorneys
        Case 1:19-cr-10080-NMG Document 1921 Filed 06/25/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: June 25, 2021                                   /s/ Kristen A. Kearney
                                                       Kristen A. Kearney
